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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND
                              (Northern Division)
MAYOR AND CITY COUNCIL OF                 )
   BALTIMORE CITY, A MUNICIPAL            )
   CORPORATION, et al.,                   )
                                          )
               Plaintiffs, Counter-       )
               Claim Defendants,          )
v.                                        )
                                          )
BROOKE ALLEN, et al.,                     )       Civil Action No. 16-03486 -ELH
                                          )
               Defendants, Counter-       )
               Claim Plaintiffs.          )
                                          )

                                   JOINT INITIAL REPORT

                 Plaintiffs, counterclaim defendants, Mayor And City Council Of Baltimore City,

Baltimore Festival Of The Arts, Inc., and Baltimore Office Of Promotion & The Arts, Inc. and

Defendants, counterclaim plaintiffs, Brooke Allen, Justin Allen and What Works Studio, LLC,

by their undersigned counsel, and pursuant to the scheduling order issued by this Court, report

the following:

                 1.     ADR Conference

       The parties do not request an early settlement/ADR conference at this time. The parties

are interested in participating in a settlement conference after the completion of discovery.


                 2.     Electronic Discovery

       The parties have conferred regarding the discovery of electronically stored information

and have agreed on the format for the production of electronically stored information.
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               3.     Modifications to Scheduling Order and Expert Discovery

        The parties request that the Scheduling Order be modified to defer expert discovery until

after dispositive motions are decided. The parties request that April 5, 2017 remain as the

deadline for fact discovery, as the proposed order currently provides and are not seeking any

other modifications to the scheduling order.


               4.     Deposition Hours

        At this time, the parties agree that each side will require fifty (50) hours of deposition

time.


               5.     Consent to Proceed Before United States Magistrate Judge

        The parties do not consent to proceed before a United States Magistrate Judge at this

time.


Date: December 2, 2016                              /s/
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                                            Municipal Corporation; Baltimore Festival
                                            Of The Arts, Inc.; and Baltimore Office Of
                                            Promotion & The Arts, Inc.


                                            /s/
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                                            Acting City Solicitor
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 2nd day of December, 2016, a copy of foregoing was

served by the Court's ECF filing system on:

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                                              /s/
                                              William Alden McDaniel, Jr




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